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AO 91 (ev. D....0 SAUSA Peter Madrifian, (312) 469-6306
8/16/2022 UNITED STATES DISTRICT COURT
1 NORTHERN DISTRICT OF ILLINOIS
olen We BiSTRICT QurT EASTERN DIVISION

UNITED STATES OF AMERICA
CASE NUMBER: 1:22-cr-00402

V.

SAVANNAH 8S. SHANDOR and
JOSEPH T. SOLOMON

CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about February 16, 2022, at Chicago, in the Northern District of Illinois, Eastern Division, the
defendant(s)s violated:
Code Section Offense Description

Title 18, United States Code, Section Theft of mail matter from out of an authorized
1708 receptacle for the delivery and deposit of mail

This criminal complaint is based upon these facts:

_X_ Continued on the attached sheet. ) Z Z

COLIN RAGLAND
Postal Inspector, U.S. Postal Inspection Service

Pursuant to Fed. R. Crim. P. 4.1, this Complaint is presented by reliable electronic means. The above-

named agent provided a sworn statement attesting to the truth of the plaint and Affidavit by telephone.
a). fe
Date: August 16, 2022 yoy) ys

’ Judge’s signature

City and state: Chicago, Illinois JEFFREY T. GILBERT, U.S. Magistrate Judge
Printed name and title

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

AFFIDAVIT

I, COLIN RAGLAND, being duly sworn, state as follows:

1. I am a Postal Inspector with the United States Postal Inspection Service
(USPIS) and have been since approximately 2015. Before becoming a Postal
Inspector, I was a Special Agent with the United States Secret Service for almost ten
years. Prior to that I was a practicing attorney and have been licensed to practice
law in Indiana since 2005. I am currently assigned to the City Mail Theft Team
within the USPIS Chicago Division. As part of my duties as a Postal Inspector, I
investigate criminal offenses related to the mails and crimes committed against
USPS employees.

2. This affidavit is submitted in support of a criminal complaint alleging
that SAVANNAH 8. SHANDOR and JOSEPH T. SOLOMON have violated Title 18,
United States Code, Section 1708. Because this affidavit is being submitted for the
limited purpose of establishing probable cause in support of a criminal complaint
charging SHANDOR and SOLOMON with theft of mail from an authorized
depository of mail, I have not included each and every fact known to me concerning
this investigation. I have set forth only the facts that I believe are necessary to
establish probable cause to believe that the defendants committed the offense alleged

in the complaint.
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3. This affidavit is based on my personal knowledge, information provided
to me by other law enforcement personnel and from persons with knowledge
regarding relevant facts. Because this affidavit is being submitted for the limited
purpose of securing an arrest warrant, I have not included each and every fact known
to me concerning this investigation.

I. Background

A, Since the onset of the COVID-19 pandemic in or around March 2020,
USPIS Chicago Division began receiving an increasing amount of mail theft
complaints from city residents, and especially from those USPS customers who live
in large apartment buildings. In the many of these instances, when the apartment
building had video surveillance equipment recording the incident, the recorded video
or images show the suspect or suspects using what appeared to be a USPS Arrow
key! to enter the building, open the panel mailboxes inside, and steal the mail inside.

5. As part of my investigation into several of these mail thefts, I learned
from Chicago Police Department (CPD) records that SOLOMON is a suspect in a
February 24, 2021 carjacking and obtained evidence that he was also implicated in
an August 10, 2021 mail theft in which he shot a resident of the building from which

he had stolen mail. I also learned that, according to USPIS reports, SHANDOR is

1 Based on my training and experience, I know that USPS issues a universal key, known as
an “Arrow key,” to allow its letter carriers and authorized postal employees access to
collection boxes, outdoor parcel lockers, cluster box units, and apartment panels. For
example, Arrow keys with a serial number beginning with 248- not only opens every
authorized receptacle for the deposit or delivery of mail, but also the entrance door to nearly
every apartment and office building within the city limits of Chicago.
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suspected of the theft of large volumes of mail from at least two apartment buildings
in Chicago in April 2021.
II. February 16, 2022 Mail Theft in Chicago

6. On or about February 18, 2022, a member of the management group for
an apartment building located on the 1900 block of North Clark Street, in Chicago,
notified USPIS of a mail theft occurring during the early morning hours of February
16, 2022. Soon thereafter, USPIS obtained video recordings of the incident from
multiple cameras both inside and outside the building.

7. According to my review of video recorded on February 16, 2022 by closed
circuit television cameras located outside and inside the apartment building located
on the 1900 block of North Clark Street (the “Clark Street building”), I note the
following:

a. At approximately 4:11 a.m., an unknown male suspect wearing,
among other things, a white-colored hooded sweatshirt, a black parka with a
rectangular white patch with a blue diagonal stripe on the shoulder of its left sleeve,
and white tennis shoes entered the vestibule between the apartment building’s main
entrance and door to the front lobby. The unknown male subject used what appear
to be two kinds of pry tools to gain access to the door between the apartment building’s
vestibule and lobby.

b. The unknown male subject is accompanied by an unknown female
subject. She wore, among other things, a black hooded sweatshirt, blue jeans with

several tears below the knee on each leg, and black boots. She carried a reusable
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shopping bag from the “Ross Dress for Less” retail chain with the word “love” in
cursive on it (the “Ross bag”) over her left shoulder. The unknown female subject
took the two pry tools from the Ross bag and handed them to her male partner before
he succeeded in prying the door open.

c. The surveillance video then depicted the male subject using what
appears to be a USPS Arrow key to open the lock securing a panel of mailboxes inside
the North Clark Street building. Both subjects then removed mail from the mailboxes
inside the panels the male subject opened with the same key and placed the mail in
large plastic trash bags and in the Ross bag. At one point, the male subject left the
mailroom with a large plastic trash bag full of mail. The video also depicted the
female subject leaving the mailroom with two large plastic trash bags and the Ross
bag full of mail.

d. Finally, according to the surveillance video, the two subjects
exited the North Clark Street building together, carrying the three large plastic trash
bags and the Ross bag, all filled with stolen mail.

II. February 17, 2022 Arrest in Gary, Indiana

8. On February 2, 2022, according to records obtained from U-Haul, an
individual using an Illinois Driver’s License issued to USPS customer Victim J.B.
completed an online rental agreement for a 2012 GMC Savana box truck belonging

to the U-Haul company and bearing Arizona plate AE54460 (the “U-Haul truck”).?

2T have interviewed USPS Customer Victim J.B. and she told me that in or around November
2021 she had applied for and was expecting a new I]linois driver's license to be mailed to her
residence on West Montrose Avenue in Chicago. She never received her license in the mail,
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The U-Haul truck was picked up from the U-Haul Moving & Storage of Lincoln Park,
located at 1200 West Fullerton Avenue in Chicago, that same day. The contract terms
required the truck to be returned on February 6, 2022. When the truck was not
returned, U-Haul reported the truck as stolen to the Chicago Police Department
(CPD) on February 11, 2022. CPD then entered the truck as stolen into the National
Crime Information Center (NCIC) database.

9. On February 17, 2022, at approximately 10:16 a.m., according to law
enforcement reports, police officers in Gary, Indiana received an alert from a nearby
license plate reader (LPR) camera informing them that the “U-Haul truck” was
reported as stolen and in the area. Shortly after receiving the alert, a Gary Police
Department (GPD) officer saw the U-Haul truck and attempted to stop it while the
U-Haul was stopped at a gas station at 49th Avenue and Broadway, in Gary, Indiana.

10. When the GPD officer activated his emergency lights, the driver of the
U-Haul truck refused to stop and began driving at speeds closing in on 75-80 miles-
per-hour. The driver disregarded numerous traffic control devices, and fled from law
enforcement by traveling on the wrong side of the road. Other police departments
joined the pursuit as the U-Haul truck continued to flee through the towns of Griffith,

Indiana, and then Highland, Indiana, until, while in Hammond, Indiana, it crashed

however, an image of that license, issued on November 28, 2021, was uploaded to the U-Haul
website as part of the rental agreement for the U-Haul truck. Victim J.B. also reported that
someone tried to buy a car in Indiana using her personally identifying information (PII), in
or around February 2022. Finally, included in the evidence USPIS recovered from the stolen
car SHANDOR was driving on May 3, 2022 in Council Bluffs, Iowa—and that I
have reviewed—was a journal-type notebook filled with notes apparently handwritten
by SHANDOR. Among those notes was Victim J.B.’s PII.
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into several other vehicles before coming to a stop. At that time, at approximately
10:38 a.m., law enforcement placed the male driver and his female passenger under
arrest. Law enforcement confirmed the male driver as SOLOMON and the female
passenger as SHANDOR.

11. According to body-worn camera (BWC) video recorded by one of the
arresting officers, at the time of his arrest, SOLOMON was wearing a black parka
with a rectangular white patch and blue diagonal line on the shoulder of its left
sleeve. SOLOMON’s parka appears to be the same parka he wore in at the Clark
Street building during the mail theft on February 16, 2022.

IV. Evidence found in the stolen U-Haul truck

12. On February 17, 2022, according to law enforcement reports, GPD
officers conducted an inventory search of the U-Haul, GPD officers found and
inventoried several fraudulent identification cards bearing SOLOMON’s photo and
the name and PII of other individuals. Furthermore, according to law enforcement
records, GPD also seized over 30 pieces of mail addressed to USPS customers at the
Clark Street building. GPD did not seize all of the items in the U-Haul truck and it
was then towed to a U-Haul repair facility in Glenwood, Illinois.

13. On March 14, 2022, a manager of the U-Haul repair facility consented
to the search the U-Haul truck. Federal law enforcement searched the U-Haul truck
and found, what I know from my training and experience, to be indicia that
SHANDOR and SOLOMON had been living in the back cargo area of the truck. For

example, federal law enforcement found cans of food, female cosmetics, female and
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male grooming products, and men’s and women’s clothing. Among the men’s clothing,
I found a white-colored hooded sweatshirt and white tennis shoes, similar in
appearance to the ones SOLOMON wore on February 16, 2022 to steal mail at the
Clark Street building.

14. Law enforcement also found three large plastic garbage bags in the rear
cargo area of the truck. Two of the bags were empty and the third contained mail
addressed to USPS customers at the Clark Street building. In total, I recovered
approximately 76 pieces of mail addressed to USPS customers residing at the Clark
Street building, both open and unopened, from inside both the passenger cabin and
the box cargo area of the U-Haul truck.

15. Additionally, in the front passenger cabin, I recovered an apparently
fraudulent Illinois temporary driver’s license bearing the personally identifying
information belonging to a USPS customer, Victim J.C.,? but showing the photograph
of an individual I recognize as SOLOMON based on a comparison to both his Illinois

Secretary of State photo as well as a recent CPD arrest photo.

3 T know from my investigation that Victim J.C. resided in an apartment building located on
the 5800 block of North Ravenswood Avenue in Chicago, and that in late 2021, USPIS
received complaints of mail theft from buildings on that block.
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16. Further, federal law enforcement found correspondence depicting a
romantic relationship between SHANDOR and SOLOMON. Specifically, amongst
the clothing found the rear cargo area of the U-Haul truck, was a greeting card inside
an envelope. The front of the envelope was addressed to “My Love, Pro Babies” and
signed “Savannah”. The front of the card read “How Lucky Am I to Love You?” The

inside of the card contained the below handwritten message:

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Wirt CU Cremise cuit A
be goet? Tee a Loe Wr.

Cre iT <# Babe
TL lone Jon!

I know from my investigation that “Pro Babies” is a reference to SOLOMON’s

nickname, “Joe Da Pro,” and “Savannah” is SHANDOR.4

* According to law enforcement reports, on May 3, 2022, SHANDOR and SOLOMON were
arrested in Council Bluffs, Iowa after leading law enforcement on another highspeed chase
in yet another stolen vehicle. The stolen vehicle contained a letter which contained the
phrase “Savannah + PRO Babies.” Also recovered in the center console area of the vehicle
was a stolen Chicago-series USPS Arrow key that would have opened the panel mailboxes at
the Clark Street building as well as the mail receptacles at the other locations from which
mail intended for the USPS customer-victims—and whose PII appeared on the fraudulent
identity documents found in the U-Haul truck—would have been delivered.
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17. On March 24, 2022, federal law enforcement also recovered the Ross bag
used by SHANODR in the February 16, 2022 mail theft in the U-Haul truck’s cargo
area. The Ross bag contained mail addressed to USPS customers residing at the
Clark Street building.

18. I know from my review of USPS records that neither SHANDOR nor
SOLOMON are USPS employees, and thus have no legal right to possess an authentic
or reproduced Arrow key.

Conclusion

19. Based on the foregoing, I believe there is probable cause to believe that,
on or about February 16, 2022, SAVANNAH S. SHANDOR and JOSEPH T.
SOLOMON, did knowingly steal and take from and out of the mail, namely mail that
had been delivered to the mailboxes of residents of an apartment building on the 1900
block of North Clark Street, in Chicago, in violation of Title 18, United States Code,

Section 1708.

FURTHER AFFIANT SAYETH NOT.

Cle ). Pye

COLIN RAGLAND
Postal Inspector
U.S. Postal Inspection Service

SWORN TO AND AFFIRMED by telephone August 16, 2022.

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Honorable JEFFREY T. GILBERT
United States Magistrate Judge

